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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:03CR384
                              )
          v.                  )
                              )
COURTNEY NELSON,              )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on plaintiff’s motion

for hearing on Rule 35 motion (Filing No. 49).            Accordingly,

          IT IS ORDERED that said motion is granted; a hearing on

plaintiff’s Rule 35 motion (Filing No. 48) is scheduled for:

                Friday, June 24, 2005, at 9:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska.    Defendant need not be present.

          DATED this 13th day of June, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
